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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION

UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
)

VS. ) No. 04-10028-T
)
)
GARY LEE DELANEY, )
)
Defendant. )

 

ORDER DENYING MOTION TO PROCEED ]N FORAM PA UPER]S AS MOOT
AND
ORDER DENYING MOTION FOR PRODUCTION OF TRANSCRlPTS
AND FEE/COST WAIVER

 

On January 13, 2005, defendant Gary Lee Delaney Was found guilty by a jury of possessing
a firearm after having been convicted of a felony. Defendant Was sentenced on April 8, 2005 to 240
months imprisonment, to be followed by five years of supervised release. Judgment was entered on
April 15, 2005. A notice of appeal Was filed on April 13, 2005, and the appeal is currently pending
before the United States Court of Appeals for the Sixth Circuit. United States v. Delanev, No. 05-
5687 (docketed l‘\/[ay 12, 2005). On August 15, 2005, the defendant, acting pro se, filed a “Motion
for Production of Transcripts and Fee/Cost Waiver” along With a motion to proceed fn forma
pauperis and an inmate trust fund account Statement. The defendant is presently represented by
appointed counsel in this criminal matter and there are no other proceedings pending at this time.

Therefore, the motion to proceed informer pauperis is DENIED as moot.

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In his motion for production of transcripts, the defendant asks that he be provided with
transcripts of his trial and sentencing hearing at government expense Defendant states that he seeks
to present a habeas corpus claiml of ineffective assistance of counsel.

lf an indigent criminal defendant seeks a free transcript to use in preparing a motion under
28 U.S.C. § 2255, he may obtain one only “if the trial judge or a circuit judge certifies that the suit
. . . is not frivolous and that the transcript is needed to decide the issue presented by the suit.” 28
U.S.C. § 753(f). In order for the Court to decide if the suit is not frivolous, a defendant must make
a particularized showing of need for the transcript to justify providing the transcript at government
expense. United States v. MacCollom, 426 U.S. 317, 326 (]976).

Although the Court has the authority to order transcripts provided at government expense
under § 753®, federal prisoners are not entitled to such transcripts for the purpose of preparing a
motion under § 2255 if there is no § 2255 motion pending Corrigan v. Thoms, 55 Fed. Appx. 754,
756 (Gth Cir. Feb. l2, 2003); United States v. Lewis, 605 F.2d 379, 380(8"1 Cir. 1979). Furthermore,
the government need not finance a defendant’s “fishing expedition” to search for post-conviction
claims Corrigan, 55 Fed. Appx. at 756; United States v. Wilson, 49 Fed. Appx. 612, 613 (61b Cir.

Nov. l, 2002); See also Campbell v. United States, 538 F.2d 692, 693 (5“‘ Cir. 1976) (“A federal

 

prisoner is not entitled to obtain copies of Court records at the Government’s expense to search for
possible defects merely because he is indigent.”); Bentley v. United States, 431 F.2d 250, 252 (61}‘
Cir. 1970) (defendant not entitled to free transcript to search for grounds to file a motion under

§2255).

 

l Prisoners challenging a federal conviction and/or sentence generally must file a motion under 28 U.S.C.
§ 2255 rather than a petition for writ of habeas corpus

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“lf the Court is not given the benefit of some definite allegation as to the nature of

the alleged illegal aspects of the judgment and sentence, it is but natural to surmise

that this is a fishing expedition and that the present vague allegation of illegality is

not made in good faith.”
Culbert v. United States, 325 F.2d 920, 922 (S‘h Cir. 1964) (quoting United States v. Lawler, 172 F.
Supp. 602, 605 (S.D. Tex. 1959)). See also United States v. Flen'iing, No. 98-5246, 1999 WL
107956, "‘2 (6‘h Cir. Feb. 9, 1999). Conclusory allegations of ineffective assistance of counsel such
as those asserted in defendant’s motion for production of transcripts ordinarily are insufficient to
justify a free transcript MacCollom, 426 U.S. at 327.

in addition, in Capaldi v. Pontesso, 135 F.3d 1122, 1124 (6‘h Cir. 1998), the Sixth Circuit
adopted the rule “that in the absence of extraordinary circumstances, a district court is precluded
from considering la § 2255 application for relief during the pendency of the applicant’s direct
appeal.” Therefore, if the defendant were to file a § 2255 motion before the conclusion of his direct
appeal, it would be dismissed without prejudice as premature

For these reasons, the defendant’s motion for production of transcripts is DENIED.

IT lS SO ORDERED.

nw

JA S D. TODD
ED STA'I`ES DISTRICT JUDGE

/SCBMM’M(

DATE U

 

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This notice confirms a copy of the document docketed as number 75 iii
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